Case 2:21-cv-19829-MCA-JRA Document 225 Filed 09/13/23 Page 1 of 2 PageID: 4916
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 September 13, 2023

 VIA ECF

 Hon. José R. Almonte, U.S.M.J.
 U.S. District Court for the District of New Jersey
 Martin Luther King Building & U.S. Courthouse
 50 Walnut Street
 Newark, New Jersey 07102

          Re:    Pacira Pharmaceuticals, Inc. v. eVenus Pharmaceuticals Labs, Inc.,
                 Civil Action No. 2:21-cv-19829-MCA-JRA (consolidated with 2:22-cv-718)
 Dear Judge Almonte:

         We, along with Perkins Coie LLP and O’Toole Scrivo, LLC, represent Plaintiffs in
 this matter. We write on behalf of Plaintiffs and Defendants (collectively, “the Parties”) to
 respectfully request that the Court amend the Scheduling Order (ECF No. 207), as proposed
 below.

          The Parties have agreed on the extension of expert discovery deadlines, as set forth
 below.


                   Event                       Current Date             Proposed Amended Date
     Rebuttal expert reports (Plaintiffs’
    rebuttal expert reports shall include
                                             September 14, 2023           September 21, 2023
    any disclosure regarding secondary
               considerations)
  Reply expert reports (including, but not
     limited to, Defendants’ response         October 19, 2023             November 2, 2023
   regarding secondary considerations)
          Close of expert discovery          November 14, 2023             December 1, 2023
                                             January 9, 2024 (or
     Deadline for Filing Pretrial Order      as otherwise set by                   No change
                                                  the Court)
Case 2:21-cv-19829-MCA-JRA Document 225 Filed 09/13/23 Page 2 of 2 PageID: 4917




                                                                                 September 13, 2023
                                                                                             Page 2




                                             January 16, 2024 (or
         Final Pretrial Conference            as otherwise set by           No change
                                                   the Court)
                Bench Trial                   February 6, 2024              No change
           30-Month Stay Ends                July 1, 2024 (20 mL            No change
                                             strength and 10 mL
                                                   strength)

          If the requested amended schedule herein meets with the Court’s approval, we
 respectfully request that Your Honor execute the “So Ordered” provision below and have this
 letter entered on the docket. Should the Court find it helpful, the Parties can be available for
 a telephone conference at the Court’s earliest convenience.

                                         *      *      *

        The Parties thank the Court for its attention to these matters.

 Respectfully submitted,

 /s/ Cynthia S. Betz

 Cynthia S. Betz

 CC: All counsel of record (via ECF)


 The proposed schedule modifications herein are
 SO ORDERED on the __ of September, 2023.


 ____________________________
 Hon. Jose R. Almonte, U.S.M.J.
